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 4
                                                          The Honorable John C. Coughenour
 5
                                    UNITED STATES DISTRICT COURT
 6
                                  WESTERN DISTRICT OF WASHINGTON
 7
                                            AT SEATTLE
 8

 9
      NORTHWEST GROCERY                          Case No. 2:21-cv-00142-JCC
10    ASSOCIATION, an Oregon non-profit
      organization, the WASHINGTON FOOD
11    INDUSTRY ASSOCIATION, a                    PRELIMINARY INJUNCTION APPEAL
      Washington non-profit corporation,
12                                               NOTICE OF APPEAL
                             Plaintiffs,
13    v.

14    CITY OF SEATTLE, a charter municipality,

15                           Defendant.

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     NOTICE OF APPEAL
     CASE NO. 2:21-cv-00142-JCC
         Case 2:21-cv-00142-JCC Document 34 Filed 03/19/21 Page 2 of 2



 1                                         NOTICE OF APPEAL

 2           Notice is hereby given that Plaintiffs Northwest Grocery Association and Washington

 3    Food Industry Association appeal to the United States Court of Appeals for the Ninth Circuit

 4    from the district court’s order denying plaintiffs’ request for a preliminary injunction and granting

 5    defendant’s motion to dismiss, ECF No. 32.

 6           Pursuant to Ninth Circuit Rule 3-2 and Rule 12(b) of the Federal Rules of Appellate

 7    Procedure, plaintiffs are also filing a Representation Statement contemporaneously with this

 8    Notice of Appeal.

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       Dated: March 19, 2021
10

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     NOTICE OF APPEAL
     CASE NO. 2:21-cv-00142-JCC                                                                               1
